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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Christopher                                            Tamara
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          D.
     passport).                        Middle Name                                            Middle Name

                                       Fedoruk                                                Fedoruk
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   6        1       6    3   xxx – xx –                   0         4        3      2
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                            Case number (if known)

                                  About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                  I have not used any business names or EINs.              I have not used any business names or EINs.
     and Employer
     Identification Numbers       Oneruk, Inc
     (EIN) you have used in       Business name                                            Business name
     the last 8 years             Guerison Interests, LLLP
                                  Business name                                            Business name
     Include trade names and
     doing business as names      Fedoruk Management, LLC
                                  Business name                                            Business name

                                  D'Urgence, PLLC
                                  Business name                                            Business name

                                  Soins, LLC
                                  Business name                                            Business name

                                  The Emergency Room at Katy Main Street
                                  Business name                                            Business name

                                   4      5   –    3   6    8     8     3   5      8                  –
                                  EIN                                                      EIN

                                   4      5   –    3   9    8     8     0   3      1                  –
                                  EIN                                                      EIN
                                   4      5   –    3   6    8     4     6   0      3                  –
                                  EIN                                                      EIN
5.   Where you live                                                                        If Debtor 2 lives at a different address:

                                  33910 Thousand Oaks Blvd
                                  Number      Street                                       Number     Street




                                  Magnolia                      TX      77354
                                  City                          State   ZIP Code           City                        State   ZIP Code

                                  Montgomery
                                  County                                                   County

                                  If your mailing address is different from                If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the            from yours, fill it in here. Note that the court
                                  court will send any notices to you at this               will send any notices to you at this mailing
                                  mailing address.                                         address.



                                  Number      Street                                       Number     Street


                                  P.O. Box                                                 P.O. Box


                                  City                          State   ZIP Code           City                        State   ZIP Code




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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                              Case number (if known)

                                  About Debtor 1:                                            About Debtor 2 (Spouse Only in a Joint Case):

6.   Why you are choosing         Check one:                                                 Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                  Over the last 180 days before filing this
                                        petition, I have lived in this district longer             petition, I have lived in this district longer
                                        than in any other district.                                than in any other district.

                                        I have another reason. Explain.                            I have another reason. Explain.
                                        (See 28 U.S.C. § 1408.)                                    (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                            Chapter 7

                                      Chapter 11

                                      Chapter 12

                                      Chapter 13

8.   How you will pay the fee         I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                      court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                      pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                      behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                      I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                      Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                      I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                      By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                      than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                      fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                      Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for               No
     bankruptcy within the
     last 8 years?                    Yes.

                                 District                                                   When                     Case number
                                                                                                   MM / DD / YYYY

                                 District                                                   When                     Case number
                                                                                                   MM / DD / YYYY

                                 District                                                   When                     Case number
                                                                                                   MM / DD / YYYY

10. Are any bankruptcy                No
    cases pending or being
    filed by a spouse who is          Yes.
    not filing this case with
                                 Debtor                                                                 Relationship to you
    you, or by a business
    partner, or by an            District                                                   When                     Case number,
    affiliate?                                                                                     MM / DD / YYYY    if known


                                 Debtor                                                                 Relationship to you

                                 District                                                   When                     Case number,
                                                                                                   MM / DD / YYYY    if known




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                            Case number (if known)

11. Do you rent your                      No.   Go to line 12.
    residence?                            Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                       and file it as part of this bankruptcy petition.


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?
                                                Oneruk
    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a                    25765 Katy Fwy
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.
                                                Katy                                                    TX             77494
    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.




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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                      Case number (if known)


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No
    property that poses or is         Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or         Where is the property?
    a building that needs urgent                                    Number    Street
    repairs?



                                                                    City                                  State   ZIP Code




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                               page 5
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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                              Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                            Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                          Case number (if known)


 Part 7:      Sign Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                X /s/ Christopher D. Fedoruk                                X /s/ Tamara Fedoruk
                                      Christopher D. Fedoruk, Debtor 1                         Tamara Fedoruk, Debtor 2

                                      Executed on 06/27/2018                                   Executed on 06/27/2018
                                                  MM / DD / YYYY                                           MM / DD / YYYY




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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                         Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ Julie M. Koenig                                                 Date 06/27/2018
                                      Signature of Attorney for Debtor                                     MM / DD / YYYY


                                      Julie M. Koenig
                                      Printed name
                                      Cooper & Scully, P.C.
                                      Firm Name
                                      815 Walker St., Suite 1040
                                      Number         Street




                                      Houston                                                 TX              77002
                                      City                                                    State           ZIP Code


                                      Contact phone (713) 236-6800                  Email address julie.koenig@cooperscully.com


                                      14217300
                                      Bar number                                              State




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  Fill in this information to identify your case and this filing:
  Debtor 1               Christopher                 D.                  Fedoruk
                         First Name                  Middle Name         Last Name

  Debtor 2            Tamara                                             Fedoruk
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
33910 Thousand Oaks Blvd                                   Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the       Current value of the
                                                               Condominium or cooperative                entire property?           portion you own?
Magnolia                         TX       77354                Manufactured or mobile home                         $529,950.00                $529,950.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
Montgomery                                                                                               entireties, or a life estate), if known.
                                                               Other
County
                                                                                                         Homestead
                                                           Who has an interest in the property?
S924300- Thousand Oaks 01, Block 1,
                                                           Check one.
Lot 3, Acres 1.041
                                                               Debtor 1 only                                Check if this is community property
                                                               Debtor 2 only                                (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 1
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Debtor 1         Christopher D. Fedoruk
Debtor 2         Tamara Fedoruk                                                                        Case number (if known)


1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
The Villas at Disney's Wilderness                        Check all that apply.                               amount of any secured claims on Schedule D:
Lodge                                                         Single-family home                             Creditors Who Have Claims Secured by Property.
Unit 13B                                                      Duplex or multi-unit building                  Current value of the            Current value of the
Orange County, FL                                             Condominium or cooperative                     entire property?                portion you own?
                                                              Manufactured or mobile home                                  $10,000.00                 $10,000.00
Disney Vacation Club                                          Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
Orange
County                                                        Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Timeshare
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

1.3.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
Disney Animal Kingdom Villas                             Check all that apply.                               amount of any secured claims on Schedule D:
Unit 69D                                                      Single-family home                             Creditors Who Have Claims Secured by Property.
Orange County, FL                                             Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
Disney Vacation Development                                   Manufactured or mobile home                                  $17,000.00                 $17,000.00
                                                              Land
Orange                                                        Investment property                            Describe the nature of your ownership
County                                                        Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                                                                             Timeshare
                                                         Who has an interest in the property?
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $556,950.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 1         Christopher D. Fedoruk
Debtor 2         Tamara Fedoruk                                                                      Case number (if known)


3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Chevrolet                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Suburban
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2016
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 33,215                                 At least one of the debtors and another            $42,650.00                           $42,650.00
Other information:
2016 CHEVROLET K1500 SUBURBAN                               Check if this is community property
LTZ                                                         (see instructions)
VIN: 1GNSKJKC1GR403871
(approx. 33215 miles)
3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Chevrolet                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Suburban
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2016
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 26,125                                 At least one of the debtors and another            $43,300.00                           $43,300.00
Other information:
2016 CHEVROLET K1500 SUBURBAN                               Check if this is community property
LTZ                                                         (see instructions)
VIN: 1GNSKJKC8GR411031
(approx. 26125 miles)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $85,950.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                            $16,160.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $4,290.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
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Debtor 1          Christopher D. Fedoruk
Debtor 2          Tamara Fedoruk                                                                                                    Case number (if known)

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                               $6,740.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                               $2,000.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                               $8,300.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                   $310.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                 $37,800.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                                                                                   $500.00
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.       Checking account:                      Checking account Woodforest Bank Acct# 1573                                                                                             $2,108.24
             17.2.       Checking account:                      Checking account Bank of America Buisness Acct# 2442                                                                                          $15.98
             17.3.       Checking account:                      Checking account Bank of America Acct# 8183                                                                                             $1,765.96


Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 4
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Debtor 1        Christopher D. Fedoruk
Debtor 2        Tamara Fedoruk                                                                      Case number (if known)

            17.4.      Checking account:                 Checking account Bank of America Acct# 8196                                    ($11.00)
            17.5.      Checking account:                 Checking account BBVA Compass Acct# 3832                                         $46.01
            17.6.      Checking account:                 Checking account Capital One Acct# 4795                                         $165.84
            17.7.      Savings account:                  Savings account Capital One Acct# 3206                                            $0.00
            17.8.      Savings account:                  Savings account Capital One Acct# 2505                                            $0.00
            17.9.      Savings account:                  Savings account Capital One Acct# 1133                                            $4.55
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

                                            Capital One Investing LLC #5791                                                               $48.90
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:

                                            Fedoruk Management, LLC                                                  100%                  $0.00
                                            Oneruk, Inc                                                                                    $0.00
                                            Guerison Interests, LLLP                                                                       $0.00
                                            D'Urgence, PLLC                                                          100%                  $0.00
                                            Soins, LLC                                                                                     $0.00
                                            The Emergency Room at Katy Main Street                                                         $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.           Type of account:         Institution name:
                                         401(k) or similar plan: 401(k)- Larkin Group                                               $544,750.55
                                         401(k) or similar plan: 401(k) Oneruk                                                             $0.00




Official Form 106A/B                                                       Schedule A/B: Property                                           page 5
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Debtor 1         Christopher D. Fedoruk
Debtor 2         Tamara Fedoruk                                                                       Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
                                               Brighthouse Financial- Tax Sheltered Annuity                                                         $1,362.68
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
                                               My 529- Utah Education Savings Plan #9111                                                           $49,665.95
                                               My 529- Utah Education Savings Plan #0288                                                           $25,220.80
                                               My 529- Utah Education Savings Plan #1935                                                           $34,244.12
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                                       State:
           and the tax years.....................................
                                                                                                                               Local:




Official Form 106A/B                                                         Schedule A/B: Property                                                       page 6
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Debtor 1         Christopher D. Fedoruk
Debtor 2         Tamara Fedoruk                                                                                      Case number (if known)

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:

                                                  Metlife Homeowners Insurance                                                                                                    $0.00
                                                  Metlife Blanket Jewelry Coverage                                                                                                $0.00
                                                  Fidelity National Title Insurance-
                                                  Timeshare                                                                                                                       $0.00
                                                  Liberty Life Insurance #9672- Term                            Tamara Fedoruk                                                    $0.00
                                                  Reliastar Life Insurance #586G-
                                                  Term                                                          Tamara Fedoruk                                                    $0.00
                                                  West Coast Life Insurance #3424-
                                                  Term                                                          Tamara Fedoruk                                                    $0.00
                                                  Reliastar Life Insurance #630E- Term                          Christopher Fedoruk                                               $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $659,888.58


Official Form 106A/B                                                            Schedule A/B: Property                                                                             page 7
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Debtor 1         Christopher D. Fedoruk
Debtor 2         Tamara Fedoruk                                                                                      Case number (if known)


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................            $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                             page 8
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Debtor 1          Christopher D. Fedoruk
Debtor 2          Tamara Fedoruk                                                                                     Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................
                     16 Chickens                                                                                                                                                $100.00

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $100.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                              $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                             page 9
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Debtor 1           Christopher D. Fedoruk
Debtor 2           Tamara Fedoruk                                                                                             Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................     $556,950.00

56. Part 2: Total vehicles, line 5                                                                                  $85,950.00

57. Part 3: Total personal and household items, line 15                                                             $37,800.00

58. Part 4: Total financial assets, line 36                                                                       $659,888.58

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                            $100.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $783,738.58               property total                 +            $783,738.58



63. Total of all property on Schedule A/B.                                                                                                                                              $1,340,688.58
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 10
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                               Case number (if known)


6.   Household goods and furnishings (details):

     1 Filing Cabint                                                                                        $40.00

     1 Computer Chair                                                                                       $25.00

     1 Dining Table and Chairs                                                                             $800.00

     2 China Cabinets/Bakers Racks                                                                         $700.00

     2 Refrigerators                                                                                       $800.00

     1 Stove                                                                                             $5,000.00

     1 Microwave                                                                                            $50.00

     1 Blender                                                                                              $50.00

     1 Toaster                                                                                              $10.00

     1 Dish Washer                                                                                         $200.00

     1 Washer                                                                                              $400.00

     1 Dryer                                                                                               $400.00

     1 Sewing Machine                                                                                       $40.00

     Dishes                                                                                                $200.00

     Pots and Pans                                                                                         $200.00

     Bakeware                                                                                               $25.00

     2 Couches                                                                                             $400.00

     1 Coffee Table                                                                                         $75.00

     1 Bookcase                                                                                            $200.00

     4 Desks                                                                                               $500.00

     2 Wingback Chairs                                                                                     $200.00

     7 Indoor Fans                                                                                         $320.00

     4 Beds                                                                                              $3,000.00

     3 Dressers                                                                                            $350.00

     1 Armoire                                                                                             $200.00

     2 Antique Dressers                                                                                    $200.00

     1 Kitchen Table and Chairs                                                                            $600.00

     2 Couches in Media Room                                                                               $200.00

     Books                                                                                                 $200.00

     Paintings                                                                                             $250.00

     Pictures                                                                                              $200.00

     Encyclopedias                                                                                          $50.00

     Childrens Books                                                                                        $75.00


Official Form 106A/B                              Schedule A/B: Property                                     page 11
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                               Case number (if known)

     CD's                                                                                                   $100.00

     DVD's                                                                                                  $100.00

7.   Electronics (details):

     2 Televisions                                                                                          $250.00

     1 Camcorder                                                                                            $100.00

     1 ipod                                                                                                  $30.00

     2 DVD Players                                                                                          $150.00

     3 Video Games/Software                                                                                 $350.00

     1 Calculator                                                                                            $10.00

     1 Computer/Software/Accessories                                                                      $1,200.00

     5 Cell phones                                                                                        $1,300.00

     5 iPads                                                                                                $700.00

     1 Printer                                                                                              $200.00

9.   Equipment for sports and hobbies (details):

     3 Rods and Reels                                                                                        $25.00

     1 Tackle Box                                                                                             $5.00

     2 Ice Chests                                                                                            $20.00

     1 Tent                                                                                                  $30.00

     3 Sleeping Bags                                                                                         $30.00

     1 Swing Set                                                                                            $250.00

     3 Outdoor Fans                                                                                         $500.00

     1 Drill                                                                                                 $25.00

     1 Portable Generator                                                                                   $200.00

     3 Ladders                                                                                              $100.00

     Hand Tools                                                                                              $50.00

     1 Chain/Hand Saw                                                                                        $30.00

     1 Gardening Tools                                                                                       $10.00

     2 Exercise Equipments                                                                                  $250.00

     2 Snow Ski Equipment                                                                                    $40.00

     1 Camera                                                                                               $100.00

     1 Lense                                                                                                 $50.00

     1 Movie Slide/Projector                                                                                $200.00

     1 Screen                                                                                               $150.00

     4 Bicycles                                                                                             $400.00



Official Form 106A/B                               Schedule A/B: Property                                     page 12
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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                       Case number (if known)

    1 Telescope                                                                                   $100.00

    1 Air Hockey Table                                                                            $150.00

    Childrens Toys                                                                                $300.00

    1 Pool Equipment                                                                              $250.00

    2 Outdoor Chairs                                                                               $75.00

    1 Gas/Charcoal Grill                                                                          $250.00

    1 Patio Set                                                                                   $250.00

    5 Guitars                                                                                     $800.00

    1 Amplifier                                                                                   $300.00

    1 Piano                                                                                     $1,800.00

11. Clothes (details):

    Clothing                                                                                    $1,000.00

    Childrens Clothing                                                                          $1,000.00

12. Jewelry (details):

    1 Wedding Ring                                                                              $7,500.00

    Earrings                                                                                      $300.00

    Pearls                                                                                        $200.00

    Watches                                                                                       $300.00

13. Non-farm animals (details):

    3 Dogs                                                                                        $300.00

    2 Cats                                                                                         $10.00




Official Form 106A/B                     Schedule A/B: Property                                     page 13
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 Fill in this information to identify your case:
 Debtor 1             Christopher         D.                     Fedoruk
                      First Name          Middle Name            Last Name
 Debtor 2            Tamara                                      Fedoruk
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $529,950.00                 $159,644.00         Const. art. 16 §§ 50, 51, Texas
33910 Thousand Oaks Blvd                                                          100% of fair market     Prop. Code §§ 41.001-.002
S924300- Thousand Oaks 01, Block 1, Lot                                           value, up to any
3, Acres 1.041                                                                    applicable statutory
Line from Schedule A/B: 1.1                                                       limit

Brief description:                                         $42,650.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
2016 Chevrolet Suburban (approx. 33215                                            100% of fair market     42.002(a)(9)
miles)                                                                            value, up to any
2016 CHEVROLET K1500 SUBURBAN LTZ                                                 applicable statutory
VIN: 1GNSKJKC1GR403871                                                            limit
(approx. 33215 miles)
Line from Schedule A/B: 3.1



3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                page 1
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $43,300.00                   $0.00           Tex. Prop. Code §§ 42.001(a),
2016 Chevrolet Suburban (approx. 26125                                       100% of fair market    42.002(a)(9)
miles)                                                                       value, up to any
2016 CHEVROLET K1500 SUBURBAN LTZ                                            applicable statutory
VIN: 1GNSKJKC8GR411031                                                       limit
(approx. 26125 miles)
Line from Schedule A/B: 3.2

Brief description:                                       $40.00                    $40.00           Tex. Prop. Code §§ 42.001(a),
1 Filing Cabint                                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
1 Computer Chair                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $800.00                  $800.00           Tex. Prop. Code §§ 42.001(a),
1 Dining Table and Chairs                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $700.00                  $700.00           Tex. Prop. Code §§ 42.001(a),
2 China Cabinets/Bakers Racks                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $800.00                  $800.00           Tex. Prop. Code §§ 42.001(a),
2 Refrigerators                                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $5,000.00                $5,000.00          Tex. Prop. Code §§ 42.001(a),
1 Stove                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
1 Microwave                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
1 Blender                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           Tex. Prop. Code §§ 42.001(a),
1 Toaster                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
1 Dish Washer                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
1 Washer                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
1 Dryer                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $40.00                    $40.00           Tex. Prop. Code §§ 42.001(a),
1 Sewing Machine                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Dishes                                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Pots and Pans                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
Bakeware                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
2 Couches                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           Tex. Prop. Code §§ 42.001(a),
1 Coffee Table                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
1 Bookcase                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
4 Desks                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
2 Wingback Chairs                                                            100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $320.00                  $320.00           Tex. Prop. Code §§ 42.001(a),
7 Indoor Fans                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,000.00                $3,000.00          Tex. Prop. Code §§ 42.001(a),
4 Beds                                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $350.00                  $350.00           Tex. Prop. Code §§ 42.001(a),
3 Dressers                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
1 Armoire                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
2 Antique Dressers                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $600.00                  $600.00           Tex. Prop. Code §§ 42.001(a),
1 Kitchen Table and Chairs                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
2 Couches in Media Room                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Books                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
Paintings                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Pictures                                                                     100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Encyclopedias                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           Tex. Prop. Code §§ 42.001(a),
Childrens Books                                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
CD's                                                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
DVD's                                                                        100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
2 Televisions                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
1 Camcorder                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $30.00                    $30.00           Tex. Prop. Code §§ 42.001(a),
1 ipod                                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
2 DVD Players                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $350.00                  $350.00           Tex. Prop. Code §§ 42.001(a),
3 Video Games/Software                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           Tex. Prop. Code §§ 42.001(a),
1 Calculator                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,200.00                $1,200.00          Tex. Prop. Code §§ 42.001(a),
1 Computer/Software/Accessories                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,300.00                $1,300.00          Tex. Prop. Code §§ 42.001(a),
5 Cell phones                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 6
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $700.00                  $700.00           Tex. Prop. Code §§ 42.001(a),
5 iPads                                                                      100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
1 Printer                                                                    100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
3 Rods and Reels                                                             100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $5.00                     $5.00           Tex. Prop. Code §§ 42.001(a),
1 Tackle Box                                                                 100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           Tex. Prop. Code §§ 42.001(a),
2 Ice Chests                                                                 100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $30.00                    $30.00           Tex. Prop. Code §§ 42.001(a),
1 Tent                                                                       100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $30.00                    $30.00           Tex. Prop. Code §§ 42.001(a),
3 Sleeping Bags                                                              100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
1 Swing Set                                                                  100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           Tex. Prop. Code §§ 42.001(a),
3 Outdoor Fans                                                               100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 7
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $25.00                    $25.00           Tex. Prop. Code §§ 42.001(a),
1 Drill                                                                      100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
1 Portable Generator                                                         100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
3 Ladders                                                                    100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Hand Tools                                                                   100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $30.00                    $30.00           Tex. Prop. Code §§ 42.001(a),
1 Chain/Hand Saw                                                             100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           Tex. Prop. Code §§ 42.001(a),
1 Gardening Tools                                                            100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
2 Exercise Equipments                                                        100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $40.00                    $40.00           Tex. Prop. Code §§ 42.001(a),
2 Snow Ski Equipment                                                         100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
1 Camera                                                                     100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 8
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
1 Lense                                                                      100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
1 Movie Slide/Projector                                                      100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
1 Screen                                                                     100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           Tex. Prop. Code §§ 42.001(a),
4 Bicycles                                                                   100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           Tex. Prop. Code §§ 42.001(a),
1 Telescope                                                                  100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
1 Air Hockey Table                                                           100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Childrens Toys                                                               100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
1 Pool Equipment                                                             100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $75.00                    $75.00           Tex. Prop. Code §§ 42.001(a),
2 Outdoor Chairs                                                             100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 9
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
1 Gas/Charcoal Grill                                                         100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           Tex. Prop. Code §§ 42.001(a),
1 Patio Set                                                                  100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $800.00                  $800.00           Tex. Prop. Code §§ 42.001(a),
5 Guitars                                                                    100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
1 Amplifier                                                                  100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,800.00                $1,800.00          Tex. Prop. Code §§ 42.001(a),
1 Piano                                                                      100% of fair market    42.002(a)(8)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Clothing                                                                     100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          Tex. Prop. Code §§ 42.001(a),
Childrens Clothing                                                           100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $7,500.00                $7,500.00          Tex. Prop. Code §§ 42.001(a),
1 Wedding Ring                                                               100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Earrings                                                                     100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                        page 10
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $200.00                  $200.00           Tex. Prop. Code §§ 42.001(a),
Pearls                                                                       100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Watches                                                                      100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
3 Dogs                                                                       100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           Tex. Prop. Code §§ 42.001(a),
2 Cats                                                                       100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $544,750.55              $544,750.55         11 U.S.C. § 522(b)(3)(C)
401(k)- Larkin Group                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(b)(3)(C)
401(k) Oneruk                                                                100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,362.68                $1,362.68          Tex. Ins. Code §§ 1108.001,
Brighthouse Financial- Tax Sheltered                                         100% of fair market    1108.051
Annuity                                                                      value, up to any
Line from Schedule A/B: 23                                                   applicable statutory
                                                                             limit

Brief description:                                     $49,665.95               $49,665.95          Tex. Prop. Code § 42.0022
My 529- Utah Education Savings Plan #                                        100% of fair market
9111                                                                         value, up to any
Line from Schedule A/B: 24                                                   applicable statutory
                                                                             limit

Brief description:                                     $25,220.80               $25,220.80          Tex. Prop. Code § 42.0022
My 529- Utah Education Savings Plan #                                        100% of fair market
0288                                                                         value, up to any
Line from Schedule A/B: 24                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                        page 11
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                         Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $34,244.12               $34,244.12          Tex. Prop. Code § 42.0022
My 529- Utah Education Savings Plan #                                        100% of fair market
1935                                                                         value, up to any
Line from Schedule A/B: 24                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                        page 12
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                                                 UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
  IN RE: Christopher D. Fedoruk                                                             CASE NO
         Tamara Fedoruk
                                                                                            CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State
                                                                Gross             Total           Total         Total Amount    Total Amount
No.     Category                                        Property Value    Encumbrances           Equity               Exempt     Non-Exempt


1.      Real property                                    $556,950.00          $370,306.00   $186,644.00         $159,644.00       $27,000.00

3.      Motor vehicles (cars, etc.)                       $85,950.00          $102,505.00         $0.00               $0.00            $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00                $0.00         $0.00               $0.00            $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                   $16,160.00                $0.00    $16,160.00          $16,160.00            $0.00

7.      Electronics                                        $4,290.00                $0.00     $4,290.00           $4,290.00            $0.00

8.      Collectibles of value                                  $0.00                $0.00         $0.00               $0.00            $0.00

9.      Equipment for sports and hobbies                   $6,740.00                $0.00     $6,740.00           $6,740.00            $0.00

10.     Firearms                                               $0.00                $0.00         $0.00               $0.00            $0.00

11.     Clothes                                            $2,000.00                $0.00     $2,000.00           $2,000.00            $0.00

12.     Jewelry                                            $8,300.00                $0.00     $8,300.00           $8,300.00            $0.00

13.     Non-farm animals                                     $310.00                $0.00      $310.00              $310.00            $0.00

14.     Unlisted pers. and household items-                    $0.00                $0.00         $0.00               $0.00            $0.00
        incl. health aids

16.     Cash                                                 $500.00                $0.00      $500.00                $0.00          $500.00

17.     Deposits of money                                  $4,095.58                $0.00     $4,106.58               $0.00        $4,106.58

18.     Bonds, mutual funds or publicly                       $48.90                $0.00       $48.90                $0.00           $48.90
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                $0.00         $0.00               $0.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                $0.00         $0.00               $0.00            $0.00
        instruments

21.     Retirement or pension accounts                   $544,750.55                $0.00   $544,750.55         $544,750.55            $0.00

22.     Security deposits and prepayments                      $0.00                $0.00         $0.00               $0.00            $0.00

23.     Annuities                                          $1,362.68                $0.00     $1,362.68           $1,362.68            $0.00

24.     Interests in an education IRA                    $109,130.87                $0.00   $109,130.87         $109,130.87            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                $0.00         $0.00               $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00                $0.00         $0.00               $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                $0.00         $0.00               $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                $0.00         $0.00               $0.00            $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Christopher D. Fedoruk                                                             CASE NO
         Tamara Fedoruk
                                                                                            CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                   Scheme Selected: State
                                                           Gross                  Total           Total         Total Amount    Total Amount
No.     Category                                   Property Value         Encumbrances           Equity               Exempt     Non-Exempt


29.     Family support                                     $0.00                    $0.00         $0.00               $0.00            $0.00

30.     Other amounts someone owes you                     $0.00                    $0.00         $0.00               $0.00            $0.00

31.     Interests in insurance policies                    $0.00                    $0.00         $0.00               $0.00            $0.00

32.     Any int. in prop. due you from                     $0.00                    $0.00         $0.00               $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                    $0.00         $0.00               $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                    $0.00         $0.00               $0.00            $0.00
        of every nature

35.     Any financial assets you did                       $0.00                    $0.00         $0.00               $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                    $0.00         $0.00               $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                    $0.00         $0.00               $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                    $0.00         $0.00               $0.00            $0.00
        tools of trade

41.     Inventory                                          $0.00                    $0.00         $0.00               $0.00            $0.00

42.     Interests in partnerships or                       $0.00                    $0.00         $0.00               $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                    $0.00         $0.00               $0.00            $0.00
        other compilations

44.     Any business-related property not                  $0.00                    $0.00         $0.00               $0.00            $0.00
        already listed

47.     Farm animals                                     $100.00                    $0.00      $100.00                $0.00          $100.00

48.     Crops--either growing or harvested                 $0.00                    $0.00         $0.00               $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                    $0.00         $0.00               $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                    $0.00         $0.00               $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                    $0.00         $0.00               $0.00            $0.00
        not listed

53.     Any other property of any kind not                 $0.00                    $0.00         $0.00               $0.00            $0.00
        already listed

                    TOTALS:                        $1,340,688.58              $472,811.00   $884,443.58         $852,688.10       $31,755.48
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Christopher D. Fedoruk                                                               CASE NO
         Tamara Fedoruk
                                                                                             CHAPTER         7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                        Lien                Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                      $0.00                 $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien               Equity       Non-Exempt Amount

Real Property

Disney Vacation Club                                                      $10,000.00                         $10,000.00                      $10,000.00

Disney Vacation Development                                               $17,000.00                         $17,000.00                      $17,000.00

Personal Property

Cash on Hand                                                                 $500.00                              $500.00                       $500.00

Checking account Woodforest Bank Acct# 1573                                 $2,108.24                            $2,108.24                    $2,108.24

Checking account Bank of America Buisness Acct# 2442                           $15.98                              $15.98                        $15.98

Checking account Bank of America Acct# 8183                                 $1,765.96                            $1,765.96                    $1,765.96

Checking account BBVA Compass Acct# 3832                                       $46.01                              $46.01                        $46.01

Checking account Capital One Acct# 4795                                      $165.84                              $165.84                       $165.84

Savings account Capital One Acct# 1133                                          $4.55                               $4.55                         $4.55

Capital One Investing LLC #5791                                                $48.90                              $48.90                        $48.90

16 Chickens                                                                  $100.00                              $100.00                       $100.00


                   TOTALS:                                                 $31,755.48           $0.00         $31,755.48                     $31,755.48
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                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION
IN RE: Christopher D. Fedoruk                                                     CASE NO
       Tamara Fedoruk
                                                                                  CHAPTER   7

                      SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                         Continuation Sheet # 3




                                                          Summary
       A. Gross Property Value (not including surrendered property)                             $1,340,688.58

       B. Gross Property Value of Surrendered Property                                                 $0.00

       C. Total Gross Property Value (A+B)                                                      $1,340,688.58

       D. Gross Amount of Encumbrances (not including surrendered property)                      $472,811.00

       E. Gross Amount of Encumbrances on Surrendered Property                                         $0.00

       F. Total Gross Encumbrances (D+E)                                                         $472,811.00

       G. Total Equity (not including surrendered property) / (A-D)                              $884,443.58

       H. Total Equity in surrendered items (B-E)                                                      $0.00

       I. Total Equity (C-F)                                                                     $884,443.58

       J. Total Exemptions Claimed                                                               $852,688.10

       K. Total Non-Exempt Property Remaining (G-J)                                              $31,755.48
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  Fill in this information to identify your case:
  Debtor 1             Christopher           D.                     Fedoruk
                       First Name            Middle Name            Last Name

  Debtor 2            Tamara                                        Fedoruk
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this     portion
        creditor's name.                                                                  value of collateral    claim                  If any

  2.1                                             Describe the property that
                                                  secures the claim:                           $370,306.00             $529,950.00
Bank Of America
Creditor's name
                                                  33910 Thousand Oaks Blvd
Attn: Bankruptcy
Number       Street
PO Box 982238
                                                  As of the date you file, the claim is: Check all that apply.
                                                      Contingent
El Paso                  TX      79998                Unliquidated
City                     State   ZIP Code
                                                      Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Conventional Real Estate Mortgage
   to a community debt
Date debt was incurred           12/2016          Last 4 digits of account number        7     7    4    4




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $370,306.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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                                                                                                                                   06/27/2018 01:13:11pm


Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                              Case number (if known)

                  Additional Page                                                     Column A               Column B               Column C
  Part 1:                                                                             Amount of claim        Value of collateral    Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this     portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                  If any

  2.2                                         Describe the property that
                                              secures the claim:                            $57,238.00              $42,650.00          $14,588.00
Bank Of America                               2016 CHEVROLET K1500
Creditor's name
Attn: Bankruptcy                              SUBURBAN LTZ
Number     Street
PO Box 982238
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
El Paso                 TX      79998             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          09/2016       Last 4 digits of account number        0     9    2    4

  2.3                                         Describe the property that
                                              secures the claim:                            $45,267.00              $43,300.00           $1,967.00
Capital One Auto Finance
Creditor's name
                                              2016 CHEVROLET K1500
Attn: Bankruptcy                              SUBURBAN LTZ
Number     Street
PO Box 30285
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Salt Lake City          UT      84130             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          09/2016       Last 4 digits of account number        1     0    0    1
#0583




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $102,505.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $472,811.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2
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  Fill in this information to identify your case:
  Debtor 1             Christopher           D.                     Fedoruk
                       First Name            Middle Name            Last Name

  Debtor 2            Tamara                                        Fedoruk
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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                                                                                                                                          06/27/2018 01:13:13pm


Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                                   Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $4,125.00
Aes/isllc                                                   Last 4 digits of account number         0 0        0     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           10/1997
Attn: Bankruptcy Dept
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 2461                                                     Contingent
                                                                Unliquidated
                                                                Disputed
Harrisburg                      PA      17105
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Educational
Is the claim subject to offset?
     No
     Yes
#8957


     4.2                                                                                                                                       $629,500.83
Allegiance Bank                                             Last 4 digits of account number         7     7    9     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
8727 W.Sam Houston Pkwy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Ste. 100                                                        Contingent
                                                                Unliquidated
                                                                Disputed
Houston                         TX      77040-5191
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Business Debt
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                              $350,000.00
Allegiance Bank                                          Last 4 digits of account number       8    1    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8727 W.Sam Houston Pkwy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste. 100                                                     Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77040-5191
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                  $615.00
Avery Eye Clinic                                         Last 4 digits of account number       2    8    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
400 S. Loop 336 West
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Conroe                        TX      77304-3302
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                               $30,671.00
Bank Of America                                          Last 4 digits of account number      4 2        2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2001
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 982238                                                Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                               $41,130.00
BBVA Compass                                             Last 4 digits of account number      3 2        0    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2015
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 10566                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Birmingham                    AL      35296
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                               $10,036.00
Chase Card Services                                      Last 4 digits of account number      7 3        1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2015
Correspondence Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                $5,043.00
Chase Card Services                                      Last 4 digits of account number      4 4        2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2015
Correspondence Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.9                                                                                                                                $3,873.00
Citibank Corp                                            Last 4 digits of account number      5 3        9    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2012
Best Buy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $2,032.30
Citibank/The Home Depot                                  Last 4 digits of account number      9 3        3    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2015
Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                $1,305.00
Citibank/The Home Depot                                  Last 4 digits of account number      8 9        3    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2015
Centralized Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                              $360,000.00
Ethan Brown                                              Last 4 digits of account number       7    0    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
8602 Crossriver Ln
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77095
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                $6,075.98
GE Healthcare                                            Last 4 digits of account number       2    2    8    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Bank of America
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 96483                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Chicago                       IL      60693
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                   edAltTextForUnknown
GE Healthcare Financial Services                         Last 4 digits of account number       3    0    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3000 N. Grandview Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waukesha                      WI      53168
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                   edAltTextForUnknown
GE Healthcare Financial Services                         Last 4 digits of account number       0    0    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3000 N. Grandview Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Waukesha                      WI      53168
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                            $2,508,000.00
Katy Main Street Pad 6, LLC                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
BPI Realty Services, Inc
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3800 Southwest Freeway                                       Contingent
Suite 304                                                    Unliquidated
                                                             Disputed
Houston                       TX      77027
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Lease
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                  $186.41
LabCorp                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
7207 N Gessner
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Houston                       TX      77040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.18                                                                                                                                $6,038.00
Navient                                                  Last 4 digits of account number      0 9        2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/1995
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 9500                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Wilkes-Barre                  PA      18773
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Educational
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                $5,360.00
Navient                                                  Last 4 digits of account number      0 8        2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/1996
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 9500                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Wilkes-Barre                  PA      18773
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Educational
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                               $53,173.00
Nelnet                                                   Last 4 digits of account number      6 6        6    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2003
Attn: Claims
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 82505                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Educational
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.21                                                                                                                               $27,624.00
Nelnet                                                   Last 4 digits of account number      6 5        6    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2003
Attn: Claims
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 82505                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Educational
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                               $67,937.47
O'Donnell, Ferebee, Medley & Frazer PC                   Last 4 digits of account number       2    4    2    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Two Hughes Landing
Number        Street                                     As of the date you file, the claim is: Check all that apply.
1790 Hughes Landing Blvd                                     Contingent
Suite 550                                                    Unliquidated
                                                             Disputed
The Woodlands                 TX      77380
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Legal Fees
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                $2,687.18
Pay Pal                                                  Last 4 digits of account number       1    6    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 71202
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Charlotte                     NC      28272-1202
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.24                                                                                                                                $6,533.00
Sunshine Fun Pools                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4200 Hwy 6
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
College Station               TX      77845
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                               $59,101.00
Suntrust                                                 Last 4 digits of account number      8 0 2           6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/28/2016
6550 West Broadway, Suite 1300
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                               $25,769.00
Suntrust                                                 Last 4 digits of account number      7 6 0           8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/21/2017
6550 West Broadway, Suite 1300
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.27                                                                                                                                $1,145.32
Synchrony Bank/Banana Republic                           Last 4 digits of account number      4 7        6    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2011
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                $1,418.00
Vail Hail Hospital                                       Last 4 digits of account number      0 4        6    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2016
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                  $528.00
Visa Dept Store National Bank/Macy's                     Last 4 digits of account number      7 7        3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2014
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 8053                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Mason                         OH      45040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 11
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.30                                                                                                                                   $19.00
Wells Fargo Bank                                         Last 4 digits of account number      7 1        3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2016
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6429                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29606
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                              $112,934.50
Western Equipment Finance                                Last 4 digits of account number       0    0    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 640
Number        Street                                     As of the date you file, the claim is: Check all that apply.
503 Hwy 2 West                                               Contingent
                                                             Unliquidated
                                                             Disputed
Devils Lake                   ND      58301
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business Debt
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                  $997.25
Woodlands Endoscopy Center                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1111 Vision Park Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Shenandoah                    TX      77384
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


CBE Group                                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
The CBE Group, Inc.                                         Line   4.28 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
PO Box 900                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Waterloo                        IA      50704
City                            State   ZIP Code


Frost Arnett Co                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 198988                                               Line   4.32 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       D    2    8    3
Nashville                       TN      37219-8988
City                            State   ZIP Code


Internal Revenue Service                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
STOP 6692 AUSC                                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Taxes                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Austin                          TX      73301-0030
City                            State   ZIP Code


Internal Revenue Service                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Insolvency Department                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Taxes
PO Box 7346                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Philadelphia                    PA      19101-7346
City                            State   ZIP Code


Internal Revenue Service                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1919 Smith St.                                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Taxes
Stop 5024 HOU                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Houston                         TX      77002
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 13
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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                        Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

RMCB                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 1235                                          Line   4.17 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number      1    7    2    0
Elmsford                    NY      10523-0935
City                        State   ZIP Code


Rodney L. Drinnon                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2000 West Loop South, Ste. 1850                      Line   4.12 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number      7    0    8    1
Houston                     TX      77027
City                        State   ZIP Code


US SMALL BUSINESS ADMIN                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
HOUSTON DISTRICT                                     Line   4.3 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
9301 SOUTHWEST FRWY                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

SUITE 550
                                                     Last 4 digits of account number      5    0    0    9
HOUSTON                     TX      77074
City                        State   ZIP Code


US SMALL BUSINESS ADMIN                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
HOUSTON DISTRICT                                     Line   4.3 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
9301 SOUTHWEST FRWY                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

SUITE 550
                                                     Last 4 digits of account number      5    0    0    1
HOUSTON                     TX      77074
City                        State   ZIP Code


US SMALL BUSINESS ADMIN                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
HOUSTON DISTRICT                                     Line   4.2 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
9301 SOUTHWEST FRWY                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

SUITE 550
                                                     Last 4 digits of account number      5    0    0    1
HOUSTON                     TX      77074
City                        State   ZIP Code


US SMALL BUSINESS ADMIN                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
HOUSTON DISTRICT                                     Line   4.2 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
9301 SOUTHWEST FRWY                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

SUITE 550
                                                     Last 4 digits of account number      5    0    0    9
HOUSTON                     TX      77074
City                        State   ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                         page 14
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                          Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +      $4,323,858.24


                  6j.   Total.   Add lines 6f through 6i.                                            6j.          $4,323,858.24




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 15
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 Fill in this information to identify your case:
 Debtor 1             Christopher           D.                     Fedoruk
                      First Name            Middle Name            Last Name

 Debtor 2            Tamara                                        Fedoruk
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Allegiance Bank                                                              Agreement of Further Assurances
          Name                                                                         Contract to be REJECTED
          8727 W.Sam Houston Pkwy
          Number     Street
          Ste. 100

          Houston                                      TX        77040-5191
          City                                         State     ZIP Code

 2.2      GE Healthcare                                                                Agreement
          Name                                                                         Contract to be REJECTED
          Bank of America
          Number     Street
          PO Box 96483
          Chicago                                      IL        60693
          City                                         State     ZIP Code

 2.3      GE Healthcare Financial Services                                             Master Security Agreement
          Name                                                                         Contract to be REJECTED
          3000 N. Grandview Blvd
          Number     Street



          Waukesha                                     WI        53168
          City                                         State     ZIP Code

 2.4      GE Healthcare Financial Services                                             Master Security Agreement
          Name                                                                         Contract to be REJECTED
          3000 N. Grandview Blvd
          Number     Street



          Waukesha                                     WI        53168
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                  Case number (if known)

               Additional Page if You Have More Contracts or Leases

       Person or company with whom you have the contract or lease        What the contract or lease is for

2.5    Katy Main Street Pad 6, LLC                                       Business Lease
       Name                                                              Contract to be REJECTED
       BPI Realty Services, Inc
       Number    Street
       3800 Southwest Freeway

       Houston                                TX      77027
       City                                   State   ZIP Code

2.6    Metro Mini Storage                                                Storage Unit
       Name                                                              Contract to be ASSUMED
       3750 FM 1488
       Number    Street



       The Woodlands                          TX      77384
       City                                   State   ZIP Code

2.7    Suntrust                                                          Loan Agreement
       Name                                                              Contract to be REJECTED
       6550 West Broadway, Suite 1300
       Number    Street



       San Diego                              CA      92101
       City                                   State   ZIP Code

2.8    Suntrust                                                          Loan Agreement
       Name                                                              Contract to be REJECTED
       6550 West Broadway, Suite 1300
       Number    Street



       San Diego                              CA      92101
       City                                   State   ZIP Code

2.9    Western Equipment Finance                                         Equipment Finance Agreement
       Name                                                              Contract to be REJECTED
       PO Box 640
       Number    Street
       503 Hwy 2 West
       Devils Lake                            ND      58301
       City                                   State   ZIP Code




Official Form 106G                     Schedule G: Executory Contracts and Unexpired Leases                            page 2
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 Fill in this information to identify your case:
 Debtor 1              Christopher            D.                          Fedoruk
                       First Name             Middle Name                 Last Name

 Debtor 2            Tamara                                               Fedoruk
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                            Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Tamara Fedoruk
                Name of your spouse, former spouse, or legal equivalent
                33910 Thousand Oaks Blvd
                Number          Street


                Magnolia                                        TX              77354
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      Ethan & Stephanie Brown
         Name                                                                                          Schedule D, line
         8602 Crossriver Ln                                                                            Schedule E/F, line        4.2
         Number        Street
                                                                                                       Schedule G, line

         Houston                                        TX                77095                  Allegiance Bank
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                             Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.2    Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                                        4.14
                                                                                 Schedule G, line

       Houston                          TX          77095                    GE Healthcare Financial Services
       City                             State       ZIP Code


3.3    Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line     4.15
       Number        Street
                                                                                 Schedule G, line

       Houston                          TX          77095                    GE Healthcare Financial Services
       City                             State       ZIP Code


3.4    Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                                        4.16
                                                                                 Schedule G, line

       Houston                          TX          77095                    Katy Main Street Pad 6, LLC
       City                             State       ZIP Code


3.5    Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                                         5.9
                                                                                 Schedule G, line

       Houston                          TX          77095                    US SMALL BUSINESS ADMIN
       City                             State       ZIP Code


3.6    Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                Schedule G, line  2.3
       Houston                          TX          77095                    GE Healthcare Financial Services
       City                             State       ZIP Code


3.7    Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line 2.4
       Houston                          TX          77095                    GE Healthcare Financial Services
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                               page 2
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                             Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.8    Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line2.9
       Houston                          TX          77095                    Western Equipment Finance
       City                             State       ZIP Code


3.9    Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line  2.5
       Houston                          TX          77095                    Katy Main Street Pad 6, LLC
       City                             State       ZIP Code


3.10   Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                                         4.3
                                                                                 Schedule G, line

       Houston                          TX          77095                    Allegiance Bank
       City                             State       ZIP Code


3.11   Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                                        4.31
                                                                                 Schedule G, line

       Houston                          TX          77095                    Western Equipment Finance
       City                             State       ZIP Code


3.12   Ethan & Stephanie Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                                         5.8
                                                                                 Schedule G, line

       Houston                          TX          77095                    US SMALL BUSINESS ADMIN
       City                             State       ZIP Code


3.13   Ethan Brown
       Name                                                                      Schedule D, line
       8602 Crossriver Ln                                                        Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line      2.1
       Houston                          TX          77095                    Allegiance Bank
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                               page 3
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                                                                                                                                        06/27/2018 01:13:14pm



 Fill in this information to identify your case:
     Debtor 1              Christopher          D.                     Fedoruk
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Tamara                                      Fedoruk                                  An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             ER Physician
      Include part-time, seasonal,
      or self-employed work.            Employer's name        MCEP

      Occupation may include            Employer's address     6700 West Loop S
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Bellaire                     TX      77401
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        10 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $47,091.14                    $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.            $47,091.14                    $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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                                                                                                                                                                06/27/2018 01:13:15pm


Debtor 1        Christopher D. Fedoruk
Debtor 2        Tamara Fedoruk                                                                                                  Case number (if known)
                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                            non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.            $47,091.14            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.         $11,704.28                    $0.00
     5b. Mandatory contributions for retirement plans                                                      5b.              $0.00                    $0.00
     5c. Voluntary contributions for retirement plans                                                      5c.          $2,355.46                    $0.00
     5d. Required repayments of retirement fund loans                                                      5d.              $0.00                    $0.00
     5e. Insurance                                                                                         5e.          $2,168.86                    $0.00
     5f. Domestic support obligations                                                                      5f.              $0.00                    $0.00
     5g. Union dues                                                                                        5g.              $0.00                    $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                  5h. +         $1,174.08                   $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.          $17,402.68                    $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.          $29,688.46                    $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                            8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                         8d.                  $0.00                $0.00
     8e. Social Security                                                                                   8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                          8f.                  $0.00                $0.00
     8g. Pension or retirement income                            8g.                                                            $0.00                $0.00
     8h. Other monthly income.
         Specify: RVU Bonus / St. Anthony Substitutes- As needed 8h. +                                                   $1,236.99                 $53.33

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.            $1,236.99                 $53.33

10. Calculate monthly income. Add line 7 + line 9.                             10.    $30,925.45 +            $53.33 =                                                $30,978.78
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                            11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                            12.          $30,978.78
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                  Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor's income will decrease due to hours being cut from 200 to 160 hours a month.
        Yes. Explain:




Official Form 106I                                                              Schedule I: Your Income                                                                      page 2
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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                               Case number (if known)


                                                                 For Debtor 1       For Debtor 2 or
                                                                                    non-filing spouse
5h. Other Payroll Deductions (details)
     Life Insurance                                                     $25.10
     401K Loan                                                       $1,148.98

                                                       Totals:       $1,174.08               $0.00




Official Form 106I                       Schedule I: Your Income                                                  page 3
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                                                                                                                                      06/27/2018 01:13:15pm



 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Christopher            D.                     Fedoruk                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Tamara                                        Fedoruk
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Child                               11
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Child                               9
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Child                               8
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $4,267.82
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                  (See continuation sheet(s) for details) 4c.                         $700.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                                Case number (if known)

                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                            (See continuation sheet(s) for details) 6a.                   $1,100.00
     6b. Water, sewer, garbage collection                          (See continuation sheet(s) for details) 6b.                     $421.00
     6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                     $478.13
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                (See continuation sheet(s) for details) 7.                    $1,500.00
8.   Childcare and children's education costs                      (See continuation sheet(s) for details) 8.                    $4,570.50
9.   Clothing, laundry, and dry cleaning                           (See continuation sheet(s) for details) 9.                      $350.00
10. Personal care products and services                            (See continuation sheet(s) for details) 10.                     $370.00
11. Medical and dental expenses                                                                            11.                     $775.00
12. Transportation. Include gas, maintenance, bus or train         (See continuation sheet(s) for details) 12.                     $880.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.                     $250.00
    magazines, and books
14. Charitable contributions and religious donations                                                       14.                      $84.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.                    $263.52
     15b.   Health insurance                                                                               15b.

     15c.   Vehicle insurance                                                                              15c.                    $214.57
     15d.   Other insurance. Specify:     Jewelry/Disability Insurance                                     15d.                    $374.05
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1     2016 Chevy Suburban                                             17a.                    $962.99
     17b.   Car payments for Vehicle 2     2016 Chevy Suburban                                             17b.                  $1,215.18
     17c.   Other. Specify: Storage Rent                                                                   17c.                     $85.00
     17d.   Other. Specify: Sunshine Pools                                                                 17d.                    $629.00
18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.




 Official Form 106J                                        Schedule J: Your Expenses                                                  page 2
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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                                   Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: See continuation sheet                                                                   21.    +          $320.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.           $19,810.76
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.           $19,810.76

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.           $30,978.78
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –       $19,810.76
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.           $11,168.02

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                             page 3
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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                            Case number (if known)


4c. Maintenance, repair, and upkeep expenses for your residence (details):
     Maintenance                                                                                                       $420.00
     Yard Care                                                                                                         $280.00

                                                                                             Total:                    $700.00


6a. Electricity, heat, natural gas (details):
     Electricity                                                                                                       $900.00
     Gas                                                                                                               $200.00

                                                                                             Total:                  $1,100.00


6b. Water, sewer, garbage collection (details):
     Water                                                                                                             $400.00
     Garbage                                                                                                            $21.00

                                                                                             Total:                    $421.00


6c. Telephone, cell phone, Internet, satellite, and cable services (details):
     Cellular Phone                                                                                                    $400.00
     Internet                                                                                                           $78.13

                                                                                             Total:                    $478.13


7.   Food and housekeeping supplies (details):
     Groceries/Housekeeping Supplies                                                                                 $1,400.00
     Work Lunches                                                                                                      $100.00

                                                                                             Total:                  $1,500.00


8.   Childcare and children's education costs (details):
     Childcare                                                                                                         $100.00
     Educational Expenses: Catholic School                                                                           $2,740.50
     Childrens School Supplies                                                                                         $100.00
     Children School & Extracurricular Activities                                                                    $1,550.00
     Lunch Money                                                                                                        $80.00

                                                                                             Total:                  $4,570.50


9.   Clothing, laundry, and dry cleaning (details):
     Dry Cleaning                                                                                                      $100.00
     Clothing                                                                                                          $200.00
     Laundry                                                                                                            $50.00

                                                                                             Total:                    $350.00


10. Personal care products and services (details):
     Barber/Beauty Parlor                                                                                              $120.00
     Toiletries                                                                                                        $250.00


 Official Form 106J                                        Schedule J: Your Expenses                                      page 4
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Debtor 1    Christopher D. Fedoruk
Debtor 2    Tamara Fedoruk                                          Case number (if known)

                                                                          Total:                    $370.00


12. Transportation (details):
    Gas/Repairs                                                                                     $800.00
    Toll Way Fees                                                                                    $80.00

                                                                          Total:                    $880.00


21. Other. Specify:
    Postage                                                                                          $20.00
    Pet Food & Vet                                                                                  $300.00

                                                                          Total:                    $320.00




 Official Form 106J                     Schedule J: Your Expenses                                      page 5
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                                                                                                                                                                              06/27/2018 01:13:16pm



 Fill in this information to identify your case:
 Debtor 1                Christopher                   D.                            Fedoruk
                         First Name                    Middle Name                   Last Name

 Debtor 2            Tamara                                                          Fedoruk
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $556,950.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $783,738.58
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                         $1,340,688.58
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $472,811.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +           $4,323,858.24
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                      $4,796,669.24




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                       $30,978.78
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                $19,810.76




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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                                                                                                                                 06/27/2018 01:13:16pm


Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                               Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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                                                                                                                            06/27/2018 01:13:16pm



 Fill in this information to identify your case:
 Debtor 1           Christopher            D.                  Fedoruk
                    First Name             Middle Name         Last Name

 Debtor 2            Tamara                                    Fedoruk
 (Spouse, if filing) First Name            Middle Name         Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                              Check if this is an
 (if known)
                                                                                                              amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                      12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                 Attach Bankruptcy Petition Preparer's Notice,
                                                                                              Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Christopher D. Fedoruk                              X /s/ Tamara Fedoruk
        Christopher D. Fedoruk, Debtor 1                         Tamara Fedoruk, Debtor 2

        Date 06/27/2018                                          Date 06/27/2018
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                            Declaration About an Individual Debtor's Schedules                                      page 1
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                                                                                                                              06/27/2018 01:13:17pm



 Fill in this information to identify your case:
 Debtor 1           Christopher           D.                     Fedoruk
                    First Name            Middle Name            Last Name

 Debtor 2            Tamara                                      Fedoruk
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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                                                                                                                               06/27/2018 01:13:17pm


Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                            Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,          $282,924.23        Wages, commissions,                $320.00
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,          $602,966.77        Wages, commissions,                $400.00
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,          $615,410.30        Wages, commissions,            $14,724.42
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income          Gross income
                                                  Describe below.             from each source     Describe below.            from each source
                                                                              (before deductions                              (before deductions
                                                                              and exclusions                                  and exclusions

From January 1 of the current year until          Lumetra                             $1,200.00
the date you filed for bankruptcy:                My529 Withdrawals                  $86,000.00



For the last calendar year:                       Lumetra- Non-employee Compensation
                                                                            $8,385.00
(January 1 to December 31, 2017 )
                                YYYY



For the calendar year before that:                Pension & Annuities         $415.00
(January 1 to December 31, 2016 )                 Lumetra- Non-employee Compensation
                                                                            $8,700.00
                                YYYY




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Debtor 1         Christopher D. Fedoruk
Debtor 2         Tamara Fedoruk                                                               Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Bank Of America                                                                 $12,740.09          $370,306.00             Mortgage
Creditor's name                                                                                                             Car
                                                              4/3/2018 $4,204.45
Attn: Bankruptcy                                                                                                            Credit card
Number     Street                                             5/7/2018 $4,267.82
                                                              6/12/18 $4,267.82                                             Loan repayment
PO Box 982238
                                                                                                                            Suppliers or vendors
El Paso                             TX       79998                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Bank Of America                                                                  $3,645.54           $57,238.00             Mortgage
Creditor's name                                                                                                             Car
                                                              Monthly $1,215.18
Attn: Bankruptcy                                                                                                            Credit card
Number     Street
                                                                                                                            Loan repayment
PO Box 982238
                                                                                                                            Suppliers or vendors
El Paso                             TX       79998                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Suntrust                                                                         $3,372.81           $59,101.00             Mortgage
Creditor's name                                                                                                             Car
                                                              Monthly$1,124.27
6550 West Broadway, Suite 1300                                                                                              Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
San Diego                           CA       92101                                                                          Other
City                                State    ZIP Code




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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                        Case number (if known)

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Suntrust                                                               $1,624.08          $25,769.00          Mortgage
Creditor's name                                                                                               Car
                                                     Monthly
6550 West Broadway, Suite 1300                                                                                Credit card
Number     Street                                    $541.36
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
San Diego                   CA       92101                                                                    Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
BBVA Compass                                                           $4,445.10          $41,130.00          Mortgage
Creditor's name                                                                                               Car
                                                     Monthly $1,481.70
Attn: Bankruptcy                                                                                              Credit card
Number     Street
                                                                                                              Loan repayment
PO Box 10566
                                                                                                              Suppliers or vendors
Birmingham                  AL       35296                                                                    Other Business Account
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Bank Of America                                                        $2,392.00          $30,671.00          Mortgage
Creditor's name                                                                                               Car
                                                     4/5/2018 $1,000
Attn: Bankruptcy                                                                                              Credit card
Number     Street                                    5/7/2018 $692
                                                     6/20/18 $700                                             Loan repayment
PO Box 982238
                                                                                                              Suppliers or vendors
El Paso                     TX       79998                                                                    Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Chase Card Services                                                    $1,200.00          $10,036.00          Mortgage
Creditor's name                                                                                               Car
                                                     4/4/2018 $300
Correspondence Dept                                                                                           Credit card
Number     Street                                    5/7/2018 $300
                                                     6/18/18 $600                                             Loan repayment
PO Box 15298
                                                                                                              Suppliers or vendors
Wilmington                  DE       19850                                                                    Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Chase Card Services                                                     $600.00            $5,043.00          Mortgage
Creditor's name                                                                                               Car
                                                     4/5/2018 $300
Correspondence Dept                                                                                           Credit card
Number     Street                                    6/18/18 $300
                                                                                                              Loan repayment
PO Box 15298
                                                                                                              Suppliers or vendors
Wilmington                  DE       19850                                                                    Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Citibank Corp                                                           $700.00            $3,873.00          Mortgage
Creditor's name                                                                                               Car
                                                     4/5/2018 $250
Best Buy                                                                                                      Credit card
Number     Street                                    5/7/2018 $250
                                                     6/18/18 $200                                             Loan repayment
PO Box 790034
                                                                                                              Suppliers or vendors
St Louis                    MO       63179                                                                    Other
City                        State    ZIP Code




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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                        Case number (if known)

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
O'Donnell, Ferebee, Medley & Frazer PC                                 $86,534.15         $67,937.47          Mortgage
Creditor's name                                                                                               Car
                                                     4/6/18 $1,000
Two Hughes Landing                                                                                            Credit card
Number     Street                                    5/7/18 $85,534.15
                                                                                                              Loan repayment
1790 Hughes Landing Blvd
                                                                                                              Suppliers or vendors
The Woodlands               TX       77380                                                                    Other Buisness- Legal Fees
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Sunshine Fun Pools                                                     $1,887.00           $6,533.00          Mortgage
Creditor's name                                                                                               Car
                                                     Monthly $629
4200 Hwy 6                                                                                                    Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
College Station             TX       77845                                                                    Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Capital One Auto Finance                                               $2,888.97          $45,267.00          Mortgage
Creditor's name                                                                                               Car
                                                     Monthly $962.99
Attn: Bankruptcy                                                                                              Credit card
Number     Street
                                                                                                              Loan repayment
PO Box 30285
                                                                                                              Suppliers or vendors
Salt Lake City              UT       84130                                                                    Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Nelnet                                                                 $1,698.21          $53,173.00          Mortgage
Creditor's name                                                                                               Car
                                                     4/16/18 $566.07
Attn: Claims                                                                                                  Credit card
Number     Street                                    5/14/18 $566.07
                                                     6/14/18 $566.07                                          Loan repayment
PO Box 82505
                                                                                                              Suppliers or vendors
Lincoln                     NE       68501                                                                    Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Ameritas Life                                                          $1,097.16                              Mortgage
Creditor's name                                                                                               Car
                                                     4/5/18 $365.72
                                                     5/3/18 $365.72                                           Credit card
Number     Street
                                                     6/4/18-$365.72                                           Loan repayment
                                                                                                              Suppliers or vendors
                                                                                                              Other Disability Insurance
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Citizens Bank                                                          $1,011.04             $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     5/2018
One Citizens Plaza                                                                                            Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Providence                  RI       02903                                                                    Other Cell phone contract
City                        State    ZIP Code




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Debtor 1         Christopher D. Fedoruk
Debtor 2         Tamara Fedoruk                                                              Case number (if known)

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                               Status of the case
Ethan Brown,Guerison             Business Dispute- Hearing Set                        164th Judicial Court
                                                                                                                                              Pending
Interests LLP, Ecsquared         6/28/18                                              Court Name
PLLC, Oneruk Inc and Oneruck                                                          49 San Jacinto                                          On appeal
Ince 401K Profit Sharing Plan v.                                                      Number     Street

Doctor Christopher Fedoruk                                                                                                                    Concluded
and D'Urgence LLC                                                                     Houston                    TX      77002
Case number 2013-67081                                                                City                       State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




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Debtor 1         Christopher D. Fedoruk
Debtor 2         Tamara Fedoruk                                                             Case number (if known)

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities                                  Describe what you contributed            Date you      Value
that total more than $600                                            Cash Contributions                       contributed
St. Anthony of Padua Catholic Church                                                                                 2016       $4,500.00
Charity's Name

7901 Bay Branch Drive                                                                                                2017       $4,600.00
Number     Street




The Woodlands                            TX          77382
City                                     State       ZIP Code

Gifts or contributions to charities                                  Describe what you contributed            Date you      Value
that total more than $600                                            Cash Contributions                       contributed
St. Anthony of Padua Catholic Church                                                                                 2018        $500.00
Charity's Name

7901 Bay Branch Drive
Number     Street




The Woodlands                            TX          77382
City                                     State       ZIP Code


  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                               Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Cooper & Scully, P.C.                                Attorney fees: $5,000.00                                   or transfer was      payment
Person Who Was Paid                                  Court filing fees: $335.00                                 made

815 Walker St., Suite 1040                           Credit report fee: $66.00                                     06/11/2018           $5,451.00
Number      Street                                   Counseling fees: $50.00



Houston                       TX       77002
City                          State    ZIP Code

www.cooperscully.com
Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                              Case number (if known)

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                 Who else has or had access to it?           Describe the contents                     Do you still
                                                                                                                                       have it?

Metro Mini Storage                                                                           4 dressers, 1 wing chair and 1                No
Name of Storage Facility                         Name                                        hall shelf and aunt's belongings              Yes
3750 FM 1488
Number      Street                               Number    Street




The Woodlands              TX      77384
City                       State   ZIP Code      City                   State   ZIP Code


  Part 9:        Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                                 Where is the property?                      Describe the property                   Value

Karen Harrigan                                                                               2 Dressers and 1 Wing Chair                $600.00
Owner's Name

1095 Dresden Ln                                  Metro Mini Storage
Number      Street                               Number    Street

                                                 3750 FM 1488

Hoffman Estates            IL      60192         The Woodlands          TX      77384
City                       State   ZIP Code      City                   State   ZIP Code




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Debtor 1        Christopher D. Fedoruk
Debtor 2        Tamara Fedoruk                                                                  Case number (if known)

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
Oneruk, Inc                                       Owns freestanding ER                                Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN:           –
25765 Katy Fwy                                    Name of accountant or bookkeeper
Number       Street
                                                                                                      Dates business existed

                                                                                                      From        2012         To   Present
Katy                       TX      77494
City                       State   ZIP Code




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Debtor 1      Christopher D. Fedoruk
Debtor 2      Tamara Fedoruk                                                           Case number (if known)

                                             Describe the nature of the business            Employer Identification number
Guerison Interests, LLLP                     Company employs physicians to work             Do not include Social Security number or ITIN.
Business Name                                at ER.
                                                                                            EIN: 4    5 – 3      6    8    8   3    5     8
25765 katy Fwy                               Name of accountant or bookkeeper
Number     Street
                                                                                            Dates business existed

                                                                                            From       2012          To   Present
Katy                   TX      77494
City                   State   ZIP Code

                                             Describe the nature of the business            Employer Identification number
D'Urgence, PLLC                              General Partner Guerrisen                      Do not include Social Security number or ITIN.
Business Name
                                                                                            EIN: 4    5 – 3      9    8    8   0    3     1
33910 Thousand Oaks Blvd                     Name of accountant or bookkeeper
Number     Street
                                                                                            Dates business existed

                                                                                            From       2012          To    2018
Magnolia               TX      77354
City                   State   ZIP Code

                                             Describe the nature of the business            Employer Identification number
Fedoruk Management, LLC                      FLP                                            Do not include Social Security number or ITIN.
Business Name
                                                                                            EIN: 3    7 – 1      5    5    7   3    0     9
33910 Thousand Oaks Blvd                     Name of accountant or bookkeeper
Number     Street
                                                                                            Dates business existed

                                                                                            From       2008          To   Present
Magnolia               TX      77354
City                   State   ZIP Code

                                             Describe the nature of the business            Employer Identification number
Soins, LLC                                                                                  Do not include Social Security number or ITIN.
Business Name
                                                                                            EIN: 4    5 – 3      6    8    4   6    0     3
25765 Katy Freeway                           Name of accountant or bookkeeper
Number     Street
                                                                                            Dates business existed

                                                                                            From       2012          To    2018
Katy                   TX      77494
City                   State   ZIP Code

                                             Describe the nature of the business            Employer Identification number
The Emergency Room at Katy Main Street                                                      Do not include Social Security number or ITIN.
Business Name
                                                                                            EIN:          –
25765 Katy Freeway                           Name of accountant or bookkeeper
Number     Street
                                                                                            Dates business existed

                                                                                            From       2012          To    2018
Katy                   TX      77494
City                   State   ZIP Code




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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                            Case number (if known)

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Christopher D. Fedoruk                              X /s/ Tamara Fedoruk
   Christopher D. Fedoruk, Debtor 1                           Tamara Fedoruk, Debtor 2

   Date       06/27/2018                                      Date     06/27/2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:
 Debtor 1              Christopher        D.                      Fedoruk
                       First Name         Middle Name             Last Name

 Debtor 2            Tamara                                       Fedoruk
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Bank Of America                                       Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    33910 Thousand Oaks Blvd                              Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Bank Of America                                       Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2016 CHEVROLET K1500 SUBURBAN                         Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        LTZ
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Capital One Auto Finance                              Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2016 CHEVROLET K1500 SUBURBAN                         Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        LTZ
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Christopher D. Fedoruk
Debtor 2     Tamara Fedoruk                                                          Case number (if known)

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                          Will this lease be assumed?

    Lessor's name:        Allegiance Bank                                                                         No
    Description of leased Agreement of Further Assurances                                                         Yes
    property:


    Lessor's name:        GE Healthcare                                                                           No
    Description of leased Agreement                                                                               Yes
    property:


    Lessor's name:        GE Healthcare Financial Services                                                        No
    Description of leased Master Security Agreement                                                               Yes
    property:


    Lessor's name:        GE Healthcare Financial Services                                                        No
    Description of leased Master Security Agreement                                                               Yes
    property:


    Lessor's name:        Katy Main Street Pad 6, LLC                                                             No
    Description of leased Business Lease                                                                          Yes
    property:


    Lessor's name:        Metro Mini Storage                                                                      No
    Description of leased Storage Unit                                                                            Yes
    property:


    Lessor's name:        Suntrust                                                                                No
    Description of leased Loan Agreement                                                                          Yes
    property:


    Lessor's name:        Suntrust                                                                                No
    Description of leased Loan Agreement                                                                          Yes
    property:


    Lessor's name:        Western Equipment Finance                                                               No
    Description of leased Equipment Finance Agreement                                                             Yes
    property:



 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Christopher D. Fedoruk                          X /s/ Tamara Fedoruk
   Christopher D. Fedoruk, Debtor 1                      Tamara Fedoruk, Debtor 2

   Date 06/27/2018                                       Date 06/27/2018
        MM / DD / YYYY                                        MM / DD / YYYY



Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liqudation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2
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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                  HOUSTON DIVISION
In re Christopher D. Fedoruk                                                                                                        Case No.
      Tamara Fedoruk
                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                Fixed Fee:                       $5,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $5,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   06/27/2018                         /s/ Julie M. Koenig
                      Date                            Julie M. Koenig                            Bar No. 14217300
                                                      Cooper & Scully, P.C.
                                                      815 Walker St., Suite 1040
                                                      Houston, TX 77002
                                                      Phone: (713) 236-6800 / Fax: (713) 236-6880




    /s/ Christopher D. Fedoruk                                      /s/ Tamara Fedoruk
   Christopher D. Fedoruk                                          Tamara Fedoruk
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   Christopher D. Fedoruk                                                   CASE NO
           Tamara Fedoruk
                                                                                   CHAPTER         7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/27/2018                                           Signature    /s/ Christopher D. Fedoruk
                                                                     Christopher D. Fedoruk



Date 6/27/2018                                           Signature    /s/ Tamara Fedoruk
                                                                     Tamara Fedoruk
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                  Aes/isllc
                  Attn: Bankruptcy Dept
                  PO Box 2461
                  Harrisburg, PA 17105


                  Allegiance Bank
                  8727 W.Sam Houston Pkwy
                  Ste. 100
                  Houston, TX 77040-5191


                  Avery Eye Clinic
                  400 S. Loop 336 West
                  Conroe, TX 77304-3302



                  Bank Of America
                  Attn: Bankruptcy
                  PO Box 982238
                  El Paso, TX 79998


                  BBVA Compass
                  Attn: Bankruptcy
                  PO Box 10566
                  Birmingham, AL 35296


                  Capital One Auto Finance
                  Attn: Bankruptcy
                  PO Box 30285
                  Salt Lake City, UT 84130


                  CBE Group
                  The CBE Group, Inc.
                  PO Box 900
                  Waterloo, IA 50704


                  Chase Card Services
                  Correspondence Dept
                  PO Box 15298
                  Wilmington, DE 19850


                  Citibank Corp
                  Best Buy
                  PO Box 790034
                  St Louis, MO 63179
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                  Citibank/The Home Depot
                  Centralized Bankruptcy
                  PO Box 790034
                  St Louis, MO 63179


                  Ethan & Stephanie Brown
                  8602 Crossriver Ln
                  Houston, TX 77095



                  Ethan Brown
                  8602 Crossriver Ln
                  Houston, TX 77095



                  Frost Arnett Co
                  PO Box 198988
                  Nashville, TN 37219-8988



                  GE Healthcare
                  Bank of America
                  PO Box 96483
                  Chicago, IL 60693


                  GE Healthcare Financial Services
                  3000 N. Grandview Blvd
                  Waukesha, WI 53168



                  Internal Revenue Service
                  1919 Smith St.
                  Stop 5024 HOU
                  Houston, TX 77002


                  Internal Revenue Service
                  Insolvency Department
                  PO Box 7346
                  Philadelphia, PA 19101-7346


                  Internal Revenue Service
                  STOP 6692 AUSC
                  Austin, TX 73301-0030
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                  Katy Main Street Pad 6, LLC
                  BPI Realty Services, Inc
                  3800 Southwest Freeway
                  Suite 304
                  Houston, TX 77027

                  LabCorp
                  7207 N Gessner
                  Houston, TX 77040



                  Metro Mini Storage
                  3750 FM 1488
                  The Woodlands, TX 77384



                  Navient
                  Attn: Bankruptcy
                  PO Box 9500
                  Wilkes-Barre, PA 18773


                  Nelnet
                  Attn: Claims
                  PO Box 82505
                  Lincoln, NE 68501


                  O'Donnell, Ferebee, Medley & Frazer PC
                  Two Hughes Landing
                  1790 Hughes Landing Blvd
                  Suite 550
                  The Woodlands, TX 77380

                  Pay Pal
                  PO Box 71202
                  Charlotte, NC 28272-1202



                  RMCB
                  PO Box 1235
                  Elmsford, NY 10523-0935



                  Rodney L. Drinnon
                  2000 West Loop South, Ste. 1850
                  Houston, TX 77027
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                  Sunshine Fun Pools
                  4200 Hwy 6
                  College Station, TX 77845



                  Suntrust
                  6550 West Broadway, Suite 1300
                  San Diego, CA 92101



                  Synchrony Bank/Banana Republic
                  Attn: Bankruptcy Dept
                  PO Box 965060
                  Orlando, FL 32896


                  US SMALL BUSINESS ADMIN
                  HOUSTON DISTRICT
                  9301 SOUTHWEST FRWY
                  SUITE 550
                  HOUSTON, TX 77074

                  Vail Hail Hospital




                  Visa Dept Store National Bank/Macy's
                  Attn: Bankruptcy
                  PO Box 8053
                  Mason, OH 45040


                  Wells Fargo Bank
                  Attn: Bankruptcy Dept
                  PO Box 6429
                  Greenville, SC 29606


                  Western Equipment Finance
                  PO Box 640
                  503 Hwy 2 West
                  Devils Lake, ND 58301


                  Woodlands Endoscopy Center
                  1111 Vision Park Blvd
                  Shenandoah, TX 77384
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 Fill in this information to identify your case:
 Debtor 1             Christopher             D.                  Fedoruk
                      First Name              Middle Name         Last Name

 Debtor 2            Tamara                                       Fedoruk
 (Spouse, if filing) First Name               Middle Name         Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)
                                                                                                        Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.    Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                      period means the time you are on active duty or are
                      I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                      least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




Official Form 122A-1Supp              Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Christopher          D.                    Fedoruk
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2            Tamara                                    Fedoruk                         2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                              page 1
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                                                                                                                                                                          06/27/2018 01:13:21pm


Debtor 1        Christopher D. Fedoruk
Debtor 2        Tamara Fedoruk                                                                                                      Case number (if known)

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                  +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                         +                 =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                          Total current
                                                                                                                                                                          monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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Debtor 1       Christopher D. Fedoruk
Debtor 2       Tamara Fedoruk                                                                                      Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Christopher D. Fedoruk                                                                X    /s/ Tamara Fedoruk
           Christopher D. Fedoruk, Debtor 1                                                               Tamara Fedoruk, Debtor 2

           Date 6/27/2018                                                                                 Date 6/27/2018
                MM / DD / YYYY                                                                                 MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                            page 3
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                                      Current Monthly Income Calculation Details
In re: Christopher D. Fedoruk                                            Case Number:
       Tamara Fedoruk                                                    Chapter:     7

2.    Gross wages, salary, tips, bonuses, overtime and commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2           Last       Avg.
                                              Months        Months        Months        Months        Months       Month        Per
                                               Ago           Ago           Ago           Ago           Ago                     Month

Debtor                                     Medical Center ER Physicians
                                            $55,359.16 $55,691.50 $58,263.36 $51,305.92 $43,660.58 $51,980.51 $52,710.17

Spouse                                     St. Anthony of Padua Catholic School
                                                  $0.00       $0.00       $0.00             $80.00         $0.00    $160.00       $40.00

10.   Income from all other sources not listed above.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2           Last       Avg.
                                              Months        Months        Months        Months        Months       Month        Per
                                               Ago           Ago           Ago           Ago           Ago                     Month

Debtor                                     My529
                                                   $0.00         $0.00         $0.00         $0.00         $0.00 $86,000.00 $14,333.33




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                                        Underlying Allowances (as of 06/27/2018)
In re: Christopher D. Fedoruk                                             Case Number:
       Tamara Fedoruk                                                     Chapter:     7


                                                      Median Income Information
 State of Residence                                                   Texas
 Household Size                                                       5
 Median Income per Census Bureau Data                                 $78,572.00 + (1 x $8,400.00) = $86,972.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                               US
 Family Size                                                          5
 Gross Monthly Income                                                 $67,083.50
 Income Level                                                         Not Applicable
 Food                                                                 $888.00
 Housekeeping Supplies                                                $75.00
 Apparel and Services                                                 $264.00
 Personal Care Products and Services                                  $75.00
 Miscellaneous                                                        $392.00
 Additional Allowance for Family Size Greater Than 4                  $357.00
 Total                                                                $2,051.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                                 $52.00
 Number of members                                                    5
 Subtotal                                                             $260.00
 Household members 65 years of age or older
 Allowance per member                                                 $114.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Total                                                                $260.00

                                               Local Standards: Housing and Utilities
 State Name                                                           Texas
 County or City Name                                                  Montgomery County
 Family Size                                                          Family of 5 or more
 Non-Mortgage Expenses                                                $689.00
 Mortgage/Rent Expense Allowance                                      $1,603.00
 Minus Average Monthly Payment for Debts Secured by Home              $4,267.82
 Equals Net Mortgage/Rental Expense                                   $0.00
 Housing and Utilities Adjustment                                     $0.00




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                                          Underlying Allowances (as of 06/27/2018)
In re: Christopher D. Fedoruk                                          Case Number:
       Tamara Fedoruk                                                  Chapter:     7


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                                Houston
 Number of Vehicles Operated                                          2 or more
 Allowance                                                            $584.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                                Houston
 Allowance (if entitled)                                              $178.00
 Amount Claimed                                                       $0.00
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                                Houston
 Number of Vehicles with Ownership/Lease Expense                      2 or more
                                                    First Car                                              Second Car
 Allowance                      $497.00                                                $497.00
 Minus Average Monthly
 Payment for Debts              $953.97                                                $754.45
 Secured by Vehicle
 Equals Net Ownership /         $0.00                                                  $0.00
 Lease Expense




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